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                  EXHIBIT 2
    FILED UNDER SEAL
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1                     UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                          SAN FRANCISCO DIVISION
4
5     WAYMO LLC,
6                Plaintiff,
7     vs.                                        No. 3:17-cv-00939-WHA
8     UBER TECHNOLOGIES, INC.;
9     OTTOMOTTO LLC; OTTO TRUCKING,
10    INC.,
11               Defendants.
12    _____________________________/
13
14          WAYMO & UBER CONFIDENTIAL ATTORNEYS' EYES ONLY
15
16               VIDEOTAPED DEPOSITION OF GREGORY KINTZ
17                        SAN FRANCISCO, CALIFORNIA
18                        WEDNESDAY, APRIL 26, 2017
19
20
21    BY:     ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~
22    CSR LICENSE NO. 9830
23    JOB NO. 2592507
24
25    PAGES 1 - 234

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1         Q     Okay.     What do you mean by that?                   11:44

2         A     Well,

                                                                but   11:44

4     does not have to be.                                            11:45

5         Q     Okay.     In what instances would it

                                                           ?          11:45

7         A     Using general principles, it would be                 11:45

8

                                                                      11:45

10        Q     And under what circumstances would it

                                                                      11:45

12        A     There may be cases where you might want to            11:45

13



              you could do that.                                      11:45

16        Q     Okay.     But generally, if you're looking to         11:45

17




                        ; correct?                                    11:46

21              MR. JAFFE:        Objection; form.                    11:46

22              THE WITNESS:        Correct.                          11:46

23              MR. KIM:     Q.     So, taking a look at this         11:46

24    diagram, I see on page 15 of Exhibit 1034, there is             11:46

25                                                                    11:46

                                                                  Page 38

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1                 Using the Fuji                           information, I     11:47

2     was able to determine

                                  .     And, from that, I was able to         11:47

4                                                                             11:47

5         Q       Okay.   And that's



                     -- on the bottom of page 5?                              11:48

8         A       That is 15?                                                 11:48

9         Q       Yes.                                                        11:48

10        A       Yes.                                                        11:48

11        Q       Okay.   And after




              ?                                                               11:48

15        A       Using the -- again, the same                                11:48

16    file from the Fuji board in the Gorilla e-mail, that                    11:48

17    also contains                                               .           11:48

18                And I was able to



                                                                              11:49

21                MR. KIM:   Okay.       Let's go ahead and mark this         11:49

22    as No. 1037.                                                            11:49

23                (Document marked Exhibit 1037                               11:49

24                 for identification.)                                       11:49

25                MR. KIM:   Q.       Do you recognize Exhibit                11:49

                                                                            Page 40

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1

                           , what did you do next?                        12:01

3          A     I then compared




                               Excuse me.                                 12:02

8          Q     And the                                                  12:02

9          A     Correct.                                                 12:02

10         Q     Okay.     And that's based on your calculation           12:02

11    of                                                     for the      12:02

12    Fuji board; correct?                                                12:02

13         A     That is correct.                                         12:02

14         Q     So, is it fair to say that if your                       12:02

15    calculation of                                          for Fuji    12:02

16    was incorrect, that             would also be different;            12:02

17    correct?                                                            12:02

18         A     Yes.                                                     12:02

19         Q     I'd like to turn to -- back to the reply                 12:02

20    declaration.                                                        12:03

21         A     (Witness complies.)                                      12:03

22               Uh-huh.                                                  12:03

23         Q     And direct your attention to paragraph 5.         Do     12:03

24    you see where it says:                                              12:03

25               "My visual inspection of the Fuji device on              12:03

                                                                        Page 46

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1                   A F T E R N O O N              S E S S I O N

2                                     1:05 P.M.

3

4                 THE VIDEOGRAPHER:             We are back on the record      13:05

5     at 1:05 p.m.                                                             13:05

6                 MR. KIM:     Q.     Mr. Kintz, we were talking               13:05

7     about                           .       And I wanted to ask you what     13:05

8     you meant by                                               in your       13:05

9     declaration, for example, in paragraphs 4 and 5 which                    13:06

10    we had been discussing.                                                  13:06

11        A       The definition of




                                                                               13:06

15        Q       Okay.   And so, if




              ?                                                                13:06

19        A       Yes, I would agree with that statement.                      13:06

20        Q       Okay.   And is it also your testimony that if                13:06

21



                                          ?                                    13:07

24                MR. JAFFE:        Excuse me.       Objection; form.          13:07

25                THE WITNESS:        In a more broad definition of            13:07

                                                                             Page 63

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1                          , yes, that would.                         13:07

2             I believe, in the context of the Trade Secret           13:07

3     that we're discussing right now, no, because that               13:07

4                                                   .                 13:07

5             MR. KIM:     Q.     So, just to make sure I -- I        13:07

6     understand your answer, if you had




                                          ?                           13:08

14        A   Yes.                                                    13:08

15            MR. JAFFE:        Objection; form.                      13:08

16            Just give me a second to object, please.                13:08

17            THE WITNESS:        Yeah.                               13:08

18            MR. JAFFE:        Thank you.                            13:08

19            THE WITNESS:        Yes, within the context of your     13:08

20    statement, yes.                                                 13:08

21            MR. KIM:     Okay.     So I'd like to mark this as      13:08

22    1038, I believe.                                                13:08

23            (Document marked Exhibit 1038                           13:09

24              for identification.)                                  13:09

25            MR. KIM:     Q.     Do you recognize Exhibit 1038?      13:09

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1     your objection.     Please stop, or we'll move to strike                14:12

2     his declaration.                                                        14:12

3             MR. JAFFE:        I'm going to just object again.               14:12

4             MR. KIM:     That's under your interpretation of                14:12

5     Judge Alsup's standing order.           I'm warning you, stop.          14:12

6             MR. JAFFE:        I disagree.                                   14:12

7             MR. KIM:     Q.     Can you answer the question?                14:12

8         A   To successfully produce this document here, I                   14:12

9     needed to have the                                     between the      14:12

10    Waymo boards and the Fuji board.                                        14:13

11            So I did compute

                                     in preparing this figure.                14:13

13        Q   Did you quantify or calculate the                               14:13

14    correspondence between

                                                                              14:13

16            MR. JAFFE:        Objection; form.                              14:13

17            THE WITNESS:        So at the time I had -- did                 14:13

18    this analysis, I had the                           data for the         14:13

19    one Fuji board, and I had the                                  from     14:13

20    the Waymo boards.                                                       14:13

21



                                                                              14:14

24            MR. KIM:     Q.     What are the scaling                        14:14

25    differences you're referring to?                                        14:14

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1     your report; correct?                                          14:15

2         A   The Excel spreadsheet that did that                    14:15

3     calculation was part of a set of files that I used and         14:15

4     prepared for the original declaration.                         14:15

5         Q   Are they mentioned in your declaration?                14:15

6         A   Insomuch as there is a computed calculation            14:15

7     here.                                                          14:15

8         Q   But where -- where is that spreadsheet                 14:15

9     referenced in the list of materials considered?                14:15

10            MR. JAFFE:        Objection; form.                     14:15

11            THE WITNESS:        It was a simple derivation of      14:15

12    the assembly and fabrication documents that were               14:16

13    provided as part of the Fuji PCB.                              14:16

14            MR. KIM:     So Counsel, we request that those         14:16

15    spreadsheets that he relied on in preparing his                14:16

16    declaration be produced immediately.                           14:16

17            MR. JAFFE:        So just to briefly respond, I        14:16

18    don't think that's a fair summary of what he just              14:16

19    testified about.     But we'll take your request under         14:16

20    advisement.                                                    14:16

21            MR. KIM:     Q.     Mr. Kintz, Waymo didn't come up    14:17

22    with the idea of having 64 diodes in a LiDAR; correct?         14:17

23        A   No.   That existed out in the public domain.           14:17

24            MR. JAFFE:        So just as a brief question here,    14:17

25    if you're changing topics, if you don't mind if we             14:17

                                                                  Page 101

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1          A   With that limited restriction on the                 14:29

2     manufacturing tolerances, there will be some variation        14:29

3     in

                      .                                             14:29

5          Q   And in some circumstances, due to                    14:29

6     manufacturing tolerances, the laser diode could

                                       ; correct?                   14:29

8          A   In that case where there are manufacturing           14:29

9     tolerances being considered, that is a possibility.           14:29

10         Q   We had -- in looking at paragraph 40, where          14:29

11    you mention mounting a cylindrical lens in front of a         14:29

12    laser diode to

                                                                    14:29

14             Do you see that?                                     14:29

15         A   Yes.                                                 14:30

16         Q   Are you familiar with the term "fast-axis            14:30

17    lens"?                                                        14:30

18         A   Point of clarification.       Fast axis?             14:30

19         Q   Fast-axis, A-X-I-S, collimation lens.                14:30

20         A   Yes.                                                 14:30

21         Q   What is that?                                        14:30

22         A   It is a cylindrical lens system that is              14:30

23    commonly placed in front of laser diodes for doing            14:30

24    collimation of the laser diode system.                        14:30

25         Q   So Waymo wasn't the first to invent or               14:30

                                                                Page 106

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1     discover the use of a fast-axis collimation lens in                    14:30

2     the context of LiDARs?                                                 14:30

3                MR. JAFFE:        Objection; form.                          14:30

4                THE WITNESS:        I'm aware of people using               14:30

5     fast-axis collimation lenses in a wide range of laser                  14:30

6     diode collimation systems.                                             14:31

7                MR. KIM:     Q.     The Velodyne 64, in fact, used          14:31

8     FAC lenses in front of its diodes; correct?                            14:31

9          A     Based on the information that is presented in               14:31

10    Figure 7, it appears that they use a fast-axis lens.                   14:31

11         Q     And do you see the fast-axis collimation lens               14:31

12    in Figure 7?                                                           14:31

13         A     Yes.                                                        14:31

14         Q     Okay.   Can you label that, please.            You can      14:31

15    just -- you can label it "FAC" for short.                              14:31

16         A     (Witness complies.)                                         14:31

17               Okay.                                                       14:31

18         Q     Okay.   And you're understanding that for the               14:31

19    Velodyne 64, the purpose of that FAC lens would be to                  14:31

20    pre-collimate the light emitted from the laser diode;                  14:31

21    correct?                                                               14:32

22         A     Correct.                                                    14:32

23         Q     And would it also be for the purpose of                     14:32

24

                                                                             14:32

                                                                          Page 107

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1     inspected.                                                       14:40

2               What's the benefit of having

                  for the GBr3 board?                                  14:41

4           A




                                                                       14:41

8           Q   And what other benefit is there for having a           14:41

9                            for the GBr3?                             14:41

10          A   For the GBr3 specifically, the benefit is              14:41

11    associated with

                                                                       14:41

13          Q   Okay.   And what other benefits are there for          14:41

14    the GBr3?                                                        14:42

15          A   I am not aware of any other benefits for the           14:42

16    GBr3 board at this time.                                         14:42

17          Q   And are those -- so I -- I heard two primary           14:42

18    benefits for having                                 for the      14:42

19    GBr3; is that fair?                                              14:42

20          A   Yes.                                                   14:42

21          Q   Would those two benefits also apply if you             14:42

22    had                         ?                                    14:42

23          A   Yes.                                                   14:42

24          Q   Would they apply if you had

                                                                       14:42

                                                                    Page 112

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1



                                                                correct?   14:45

4          A     I actually --                                             14:45

5                MR. JAFFE:        Sorry.   Objection; form.               14:45

6                Go ahead.                                                 14:45

7                THE WITNESS:        Actually, I disagree.                 14:45

8



                                                                           14:45

11               So it's clear that even



                                                                           14:45

14               MR. KIM:     Q.     So would



                                                                  ?        14:46

17         A     Yes, under all of the considerations of the               14:46

18

                                                   yes.                    14:46

20         Q     And assuming that




                                                                           14:46

24    correct?                                                             14:46

25         A     Yes, given those mathematical assumptions.                14:46

                                                                       Page 114

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1          Q     So if you can turn to your -- the Trade              14:47

2     Secret List that we've been referring back to, Trade            14:47

3     Secret No. 7.                                                   14:47

4          A     (Witness complies.)                                  14:47

5                Yes.                                                 14:47

6          Q     It's not your testimony that Trade Secret 7          14:48

7     requires                           ; is it?                     14:48

8          A

                                                                      14:48

10         Q     But it doesn't say                            ;      14:48

11    correct?                                                        14:48

12         A     No, there is no

                                                                      14:48

14               It's just surprising that



                                                                      14:48

17         Q     How do you know that

                            ?                                         14:48

19         A     I was told that -- or that information is in         14:49

20    one of the declarations of one of the Waymo engineers.          14:49

21         Q     And you relied on that declaration?                  14:49

22         A     Yes.                                                 14:49

23         Q     Do you know whose?                                   14:49

24         A     I can pull that up because that's referenced         14:49

25    in my -- let's see -- in my second declaration.                 14:49

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1     declaration, paragraph 40.         And actually, let's move      15:03

2     ahead to paragraph 43.                                           15:03

3            A   (Witness complies.)                                   15:03

4            Q   Do you see in the first sentence where you            15:04

5     say:                                                             15:04

6                "Moreover, both Liu and Schultz dissertation          15:04

7     teach away from                                        ."        15:04

8            A   Yes.                                                  15:04

9            Q   What is a                             ?               15:04

10           A   Depending on the application of the laser             15:04

11    diode, either single emitter device or laser diode               15:04

12    bar,




                                                                       15:04

16           Q   For the GBr3, what would be

                 ?                                                     15:04

18               MR. JAFFE:     Objection; form.                       15:04

19               THE WITNESS:     Without having gone through          15:05

20    computations of the --




                                                                       15:05

24               However, in the deposi- -- in the                     15:05

25    declarations of the Google engineer, Pierre Droz, they           15:05

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1          Q   What about                  ?                         15:07

2          A   Again, you're asking me to do calculations            15:07

3     that I don't have information available to me in terms         15:07

4     of the detailed design properties of the system.               15:07

5          Q   You know, earlier we were looking at the              15:07

6     Trade Secret No. 7, and you confirmed there was no             15:07

7     requirement of                                .                15:07

8              Do you recall that?                                   15:07

9          A   Yes.                                                  15:08

10         Q   Where does it say in Trade Secret 7 that the          15:08

11                                         ?                         15:08

12         A   The significance in the Trade Secret is the           15:08

13




                                                                     15:08

17         Q   But where does it

                            ?                                        15:09

19         A   Trade Secret No. 7 doesn't have

                                                              .      15:09

21             (Document marked Exhibit 1048                         15:09

22              for identification.)                                 15:09

23             MR. KIM:     Okay.    I'd like to hand you            15:09

24    deposition Exhibit No. 140 -- 1048.                            15:09

25             MR. JAFFE:       Can I get a copy, please?            15:09

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1          Q    So it seems to be distinguishing the                16:04

2     '190 patent disclosure and possibly the PanDAR                16:04

3     paper -- it's unclear -- on the grounds that what's           16:04

4     disclosed in the '190 patent and/or the PanDAR paper          16:05

5     is not a single device.                                       16:05

6               And my question is:    Earlier when we were         16:05

7     discussing the PanDAR device, you had mentioned that          16:05

8     it was two stacked Velodynes; right?                          16:05

9               And I think that's depicted in Figure 1 which       16:05

10    we were talking about earlier.                                16:05

11         A    Yes.                                                16:05

12         Q    So -- so with the understanding that PanDAR         16:05

13    is describing what you described as two separate              16:05

14    devices stacked on top of each other --                       16:05

15         A    Well, actually, I think we can look at the          16:05

16    photograph --                                                 16:05

17         Q    Yeah.                                               16:05

18         A    -- on Figure 1 and see --                           16:05

19         Q    Yeah, that's what I'm looking at, too.              16:05

20         A    -- that it is a single device that has two          16:05

21    optical subsystems on it.                                     16:05

22         Q    Oh, you would characterize this as a single         16:05

23    device?                                                       16:05

24         A    This is the PanDAR system that is a single          16:05

25    device.                                                       16:05

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1



                                                                      16:10

4               So again, I have to say necessarily because           16:10

5     it may not be a straightforward task to reduce that to          16:10

6     a single device.                                                16:10

7               MR. KIM:     Q.     Wouldn't it be fairly simple to   16:10

8     just arrange the boards that are distributed across             16:10

9     two optical cavities in the PanDAR device into a                16:11

10    single cavity?                                                  16:11

11              MR. JAFFE:        Objection; form.                    16:11

12              THE WITNESS:        Without knowing the internal      16:11

13    details of the -- of the 32-unit Velodyne systems,              16:11

14    that may or may not be possible.                                16:11

15              But we can actually look at the Velodyne              16:11

16    '190 patent and see that there's not a lot of room              16:11

17    between their current set of emitters to just add more          16:11

18    boards.                                                         16:11

19              MR. KIM:     Okay.                                    16:11

20         Q    Aside from space constraints, what else would         16:11

21    prevent you from just adding more boards in a single            16:11

22    cavity?                                                         16:11

23         A    Well, two other areas that immediately jump           16:11

24    out at me as an engineer.                                       16:12

25                                                                    16:12

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1




                                                                    16:12

8          Q   What else?                                           16:12

9          A   We mentioned

                                                                    16:12

11         Q   What about optically?                                16:12

12             You wouldn't have to recalculate all the



                                            ; right?                16:12

15             You could just take

                            and apply it to a single cavity?        16:13

17             MR. JAFFE:     Objection; form.                      16:13

18             THE WITNESS:     So you're really making a very      16:13

19    hypothetical situation right now, and now detailed            16:13

20    designs that's unclear to me whether I can make an            16:13

21    accurate conclusion on this.                                  16:13

22             It not only depends on




                                                                    16:13

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1                So I don't think there is a clear answer to              16:13

2     your question.                                                      16:13

3                MR. KIM:     Q.     It wouldn't be a simple              16:13

4     modification to just go from these two separate                     16:13

5     cavities and to put all 64 boards and diodes into a                 16:13

6     single cavity?                                                      16:13

7                MR. JAFFE:        Objection; form.                       16:14

8                THE WITNESS:        Again, I don't -- with all of        16:14

9     the complexity of engineering, I don't think you can                16:14

10    make a broad brush statement that says, Oh, this would              16:14

11    just be a simple thing to do.                                       16:14

12               MR. KIM:     Q.     So GBr3 has

               ; correct?                                                 16:15

14         A     Yes, that's correct.                                     16:15

15         Q     And it has a single optical cavity?                      16:15

16         A     Yes, that's correct.                                     16:15

17         Q     And the                                   for GBr3,      16:15

18    that's                                               ?              16:15

19         A     That sounds correct.         But I would prefer to       16:15

20    look at a detailed specification to confirm that                    16:15

21    number.                                                             16:16

22         Q     All right.                                               16:16

23               I think you can go to the list of Trade                  16:16

24    Secrets and turn to -- let's see -- page 25.                        16:16

25         A     Okay.     Nope, I don't need that anymore.               16:16

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1     line 52, where it says:                                           16:30

2              "In some examples, each light source of the              16:30

3     plurality of light sources includes a respective lens,            16:30

4     such as a cylindrical or acylindrical lens.           The light   16:30

5     source may emit an uncollimated light beam that                   16:31

6     diverges more in a first direction than in a second               16:31

7     direction.   In these examples, the light source's                16:31

8     respective lens may pre-collimate the uncollimated                16:31

9     light beam in the first direction to provide a                    16:31

10    partially collimated light beam, thereby reducing the             16:31

11    divergence in the first direction."                               16:31

12             Do you see that?                                         16:31

13         A   I do see that.                                           16:31

14         Q   Doesn't that describe a cylin- -- use of a               16:31

15    cylindrical or acylindrical FAC lens with a laser                 16:31

16    diode?                                                            16:31

17         A   Yes, it does.                                            16:31

18         Q   And here it refers to cylindrical or                     16:31

19    acylindrical.                                                     16:31

20             Do you know what the difference is between a             16:31

21    cylindrical and an acylindrical lens?                             16:31

22         A   The use in the patent of the terminology                 16:31

23    "acylindrical" is not standard for optics.           Normally,    16:32

24    the optical design program -- or a common optical                 16:32

25    design program, Zemax, would refer to that as a                   16:32

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1     toroid-shaped lens.                                           16:32

2          Q   Yet you're referring to an acylindrical --           16:32

3          A   Correct.                                             16:32

4          Q   -- shape?                                            16:32

5              So just to make sure I've got the terminology        16:32

6     right, an acylindrical FAC lens would be toroidal?            16:32

7          A   And just to be specific, the definition of           16:32

8     toroidal means that the radius of curvature in one            16:32

9     principal direction is different than the radius of           16:32

10    curvature in the other principal direction.                   16:32

11         Q   Okay.    And a cylindrical FAC then would be         16:32

12    non-toroidal; is that fair?                                   16:32

13         A   Yes.    It's the limit where one of the axes is      16:32

14    constant cross section and has no radius of curvature,        16:33

15    and the other one has a radius of curvature.                  16:33

16         Q   And you can define a acylindrical shape              16:33

17    through a mathematical equation; correct?                     16:33

18         A   That's correct.                                      16:33

19         Q   And an acylindrical shape can be defined             16:33

20    through the use of a polynomial?                              16:33

21         A   Correct.                                             16:33

22         Q   Whereas a cylindrical shape would not be             16:33

23    defined by a polynomial; correct?                             16:33

24         A   In the one axis where there is curvature,            16:33

25    that axis is actually usually defined by a polynomial.        16:33

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1              MR. KIM:     Okay.                                      17:12

2          Q   So this patent discloses the use of holes,              17:12

3     tapered pins, screws, and cam surfaces, all four of              17:12

4     those,                                         ; correct?        17:12

5          A   That is correct.                                        17:12

6          Q   Okay.    You can put that aside.                        17:12

7              So I believe earlier you testified that it's            17:13

8     your understanding that the manufacturing tolerances             17:13

9     for GBr3 is                                       ?              17:13

10             MR. JAFFE:        Objection; form.                      17:13

11             THE WITNESS:        Can you point to either in my       17:13

12    declaration or --                                                17:13

13             MR. KIM:     Q.     I thought you said that during      17:13

14    the deposition, but you also said in paragraph 50 of             17:13

15    your reply brief.                                                17:13

16         A   Okay.                                                   17:13

17             MR. JAFFE:        Are you talking about the reply       17:13

18    brief, you said?                                                 17:13

19             MR. KIM:     The reply declaration.                     17:13

20             THE WITNESS:        Okay.                               17:14

21             (Complies.)                                             17:14

22             Yes.    And this specifically references the            17:14

23



                                                                       17:14

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                                                                   17:14

4             MR. KIM:   Q.   So if there's a



                                                                   17:15

7         A




                                                                   17:16

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                                                                    17:17

15         Q   Okay.   I'd like to move on to page 29 of your       17:17

16    reply.                                                        17:18

17         A   (Witness complies.)                                  17:18

18         Q   Down at the bottom you're discussing Trade           17:18

19    Secret 48?                                                    17:18

20         A   Yes.                                                 17:18

21         Q   And what is that Trade Secret?                       17:18

22         A   So the Trade Secret as specifically written          17:18

23    in the Trade Secret document -- list document, the            17:18

24    Trade Secret claimed is:                                      17:18

25                                                                  17:18

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1          Q     Now, the use of a

                                            , that's known in the           17:22

3     public; right?                                                        17:22

4                MR. JAFFE:        Objection; form.                         17:22

5                THE WITNESS:        There are many applications of         17:22

6




                                                                            17:22

10               MR. KIM:     Q.     And it's also known that you           17:22

11    could use

                                                                        ;   17:22

13    correct?                                                              17:22

14               MR. JAFFE:        Objection; form.                         17:22

15               THE WITNESS:        Yes.   There are certainly             17:22

16    references in the public domain that discuss the                      17:22

17

                                                                            17:23

19               MR. KIM:     Q.     For a LiDAR application;               17:23

20    correct?                                                              17:23

21         A     For a LiDAR application.                                   17:23

22         Q     Okay.   So the use of



                                                   that's not a Trade       17:23

25    Secret; right?                                                        17:23

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1          A   Right here.                                           17:26

2          Q   You're referring to                                   17:26

3          A              yes.                                       17:26

4          Q   Okay.   Let's move on to paragraph 58 in your         17:26

5     reply declaration.                                             17:27

6          A   (Witness complies.)                                   17:27

7              Yes.                                                  17:28

8          Q   So Trade Secret 10 is:                                17:28

9




                                                                     17:28

15         A   That's correct.                                       17:28

16         Q   What's the                                            17:28

17    covered by Trade Secret 10?                                    17:28

18         A   It's the




                                                                     17:28

22         Q   Now, I'm -- I want to know about the                  17:29

23                                                                   17:29

24

                                      that you're referring to?      17:29

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1            Q   Now, you said earlier



                         ; right?                                              17:31

4            A   That's right.      So just to be specific, a                  17:31

5



                                                                               17:31

8            Q   Okay.     So who is                                for        17:31

9     Waymo?                                                                   17:31

10           A   I know they're a                              and -- oh,      17:31

11    yes,                                                                     17:31

12           Q   Okay.     So I'm a little confused, because in                17:31

13    Trade Secret -- the Trade Secret List, page 8, it                        17:31

14    says:                                                                    17:31

15




                                                                               17:32

20               Do you see that?                                              17:32

21           A   You're on page 8?                                             17:32

22           Q   Page 8.                                                       17:32

23           A   And Trade Secret --                                           17:32

24           Q   10.                                                           17:32

25           A   -- 10.                                                        17:32

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1                  MR. JAFFE:        Same objection.                     17:39

2                  THE WITNESS:        Again, I'm not aware of any       17:39

3     other person using plastic FAC lenses in any                       17:39

4     application.                                                       17:39

5                  MR. KIM:     Q.     Can you turn to the '922 patent   17:39

6     that we looked at previously.                                      17:41

7            A     (Witness complies.)                                   17:41

8                  Uh-huh.                                               17:41

9            Q     Direct your attention to paragraph --                 17:41

10    column 15, line approximately 50.                                  17:41

11                 Do you see that?                                      17:41

12           A     Yes.                                                  17:41

13           Q     So it says:                                           17:41

14                 "In one example, cylindrical lens 504 is a            17:41

15    microrod lens with a diameter of about 600 microns                 17:41

16    that is placed about 250 microns in front of aperture              17:41

17    506.       The material of the microrod lens could be, for         17:41

18    example, fused silica or a borosilicate crown glass,               17:41

19    such as Schott BK7."                                               17:41

20                 It goes on to say:                                    17:42

21                 "Alternatively, the microrod lens could be a          17:42

22    molded plastic cylinder or acylinder."                             17:42

23                 Do you see that?                                      17:42

24           A     I do.                                                 17:42

25           Q     So it's known in the public that you could            17:42

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1     have a molded plastic FAC lens for use with a diode in          17:42

2     a LiDAR; correct?                                               17:42

3          A   Yes.    The -- there could be a molded glass           17:42

4     lens.                                                           17:42

5              However, the Trade Secret really here that             17:42

6     we're talking about is



                                                                      17:42

9          Q   Where does it talk about



                                                                      17:43

12             MR. JAFFE:        Objection; form.                     17:43

13             THE WITNESS:        Well, the -- the Trade Secret      17:43

14                                                                    17:43

15             MR. KIM:     Q.     And I thought we had previously    17:43

16    discussed that in this list of Trade Secrets, it's              17:43

17    just the last bullet that defines the scope of the              17:43

18    Trade Secret?                                                   17:43

19         A   Yes.                                                   17:43

20         Q   Do you recall that?                                    17:43

21         A   Yes.                                                   17:43

22         Q   Okay.    Is there anything in that last bullet         17:43

23    that talks about

                                        ?                             17:43

25         A   No.                                                    17:43

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1          Q     Do you see any description there of any                 17:43

2                                                                        17:43

3          A     No.                                                     17:43

4          Q     Did you opine on Trade Secret No. 19?                   17:43

5          A     Yes.                                                    17:44

6          Q     So again, the scope of Trade Secret 19 is               17:44

7     defined by that last bullet point; correct?                        17:44

8          A     Correct.                                                17:45

9          Q     And so the Trade Secret is

                                                     is that right?      17:45

11               MR. JAFFE:        Objection; form.                      17:45

12               THE WITNESS:        There's more to the Trade           17:45

13    Secret.     The Trade Secret claimed is:                           17:45

14




                                                                         17:45

21               MR. KIM:     Q.     So the Trade Secret doesn't         17:45

22    specify any particular type of                              ;      17:45

23    correct?                                                           17:46

24         A     No.                                                     17:46

25         Q     And you're aware of vendors who sell                    17:46

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1     diagrams?                                                     18:54

2              MR. JAFFE:     Same objection.                       18:54

3              THE WITNESS:     As I just stated, without           18:54

4     knowing the internal circuitry of the components that         18:54

5     are listed as MC40F10YMME, and whether or not that            18:54

6     internal device contains inductors or inductor-like           18:54

7     devices, I cannot make a determination.                       18:54

8              MR. KIM:     Okay.                                   18:54

9          Q   You said you reviewed the 14,000 files               18:54

10    downloaded by Mr. Anthony Levandowski in preparation          18:54

11    for finalizing your opening declaration; correct?             18:54

12         A   That is correct.                                     18:54

13         Q   When you reviewed those 14,000 files, you            18:54

14    didn't see

                          ; did you?                                18:55

16             MR. JAFFE:     Objection; form.                      18:55

17             THE WITNESS:     The files that were downloaded      18:55

18    by Andrew Levandowski included a wide range of laser          18:55

19    programs at Google Waymo, one being

                                                                    18:55

21             However, the information is limited to the           18:55

22    electrical schematics of the system and did not have          18:55

23    any information on the optical configurations.                18:55

24             MR. KIM:     Okay.                                   18:55

25         Q   So that would be -- you -- you didn't see any        18:55

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1     schematics for a LiDAR design with eight optical                    18:55

2     cavities?                                                           18:55

3          A   No, I did not.                                             18:55

4          Q   And you didn't see any schematics for a LiDAR              18:55

5     design that had 16 collimation lenses?                              18:55

6              MR. JAFFE:        Objection; form.                         18:56

7              THE WITNESS:        Again, the schematic files are         18:56

8     electrical files, not optical files.              So there was no   18:56

9     information on lenses or optics.                                    18:56

10             MR. KIM:     Q.     And you didn't see any                 18:56

11    schematics that showed a diode-based design with                    18:56

12    multiple diodes on a board with separate transmit and               18:56

13    receive lenses?                                                     18:56

14             MR. JAFFE:        Objection; form.                         18:56

15             THE WITNESS:        In the laser subdirectory of           18:56

16    the files downloaded by Andrew Levandowski, there were              18:57

17    multiple laser projects with the schematic information              18:57

18    on those, but not the optical information.                          18:57

19             So even though there were a wide range of                  18:57

20    files downloaded on a wide range of laser radar                     18:57

21    systems, there was not specific optical information                 18:57

22    that would allow me to answer that I did see this                   18:57

23    configuration.                                                      18:57

24             MR. KIM:     Q.     Mr. Kintz, the Spider doesn't          18:57

25    practice any of the Trade Secrets in your opening                   18:57

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1     declaration; correct?                                           18:57

2          A   No, not that I'm aware of.                             18:58

3          Q   Okay.   Going back to -- yeah.           I think       18:58

4     earlier we were talking about

                          .                                           18:58

6              Do you recall that discussion?                         18:58

7          A   I do.                                                  18:58

8          Q   And at one point we were talking about a               18:58

9     reference that disclosed, in addition to the use of             18:58

10    guide holes, also the use of screws.                            18:58

11             Do you recall that?                                    18:58

12         A   Yes.                                                   18:58

13         Q   The use of screws to position PCB boards,              18:58

14    that was well known in the public; correct?                     18:58

15             MR. JAFFE:       Objection; form.                      18:58

16             THE WITNESS:       In this case, the screws had a      18:59

17    definitive function that is well beyond the normal use          18:59

18    of screws to just hold them down on a set of                    18:59

19    standoffs.                                                      18:59

20             In this case, the screws had a function as --          18:59

21    wrong patent.    Wrong patent.                                  18:59

22             MR. KIM:       Let me just ask you a new question.     18:59

23         Q   In your opinion, people would know that you            18:59

24    could position a PCB using screws; correct?                     18:59

25             MR. JAFFE:       Objection; form.                      18:59

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1              THE WITNESS:     The attachment of PCBs to           18:59

2     standoffs and other mechanical hardware is commonly           19:00

3     used in designs.                                              19:00

4              MR. KIM:     Okay.   No further questions at this    19:00

5     time.                                                         19:00

6              MR. JAFFE:     No questions.                         19:00

7              THE VIDEOGRAPHER:      This is the end of today's    19:00

8     deposition of Mr. Gregory Kintz.         We are off the       19:00

9     record at 7:00 p.m.                                           19:00

10             The total number of media used was eight and         19:00

11    will be retained by Veritext.                                 19:00

12             Thank you.                                           19:00

13             (WHEREUPON, the deposition ended                     19:00

14              at 7:00 p.m.)                                       19:00

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